The court incorporates by reference in this paragraph and adopts as the findings and orders of this court
the document set forth below. This document was signed electronically on June 13, 2012, which may be
different from its entry on the record.



IT IS SO ORDERED.

Dated: June 13, 2012




                        IN THE UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION, CLEVELAND

    ____________________________________
    In re:                                  )                  CHAPTER 13
                                            )
           Brian Finley                     )                  CASE NO. 10-13311
                   and                      )
           Jessica Finley,                  )                  JUDGE: Arthur I. Harris
                                            )
                   Debtors.                 )
    _______________________________________ )


          ORDER GRANTING DEBTORS’ MOTION FOR ORDER GRANTING
       AUTHORITY TO ENTER INTO LOAN MODIFICATION AGREEMENT WITH
                       OCWEN LOAN SERVICING, LLC
                               ___________


            This matter is before the Court upon Debtors’ Motion for an Order Granting

    Authority to Enter into Loan Modification Agreement with Ocwen Loan Servicing, LLC.

            Upon notice and hearing, the Court finds that all appropriate parties were duly

    served with the notice and hearing date, no party filed an objection or otherwise appeared




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  in opposition thereto, and it appears appropriate to grant the relief requested. It is

  therefore,

         ORDERED, ADJUDGED AND DECREED, that the debtors’ motion for a loan

  modification agreement is granted. The debtors are hereby authorized to enter into the

  loan modification agreement set forth in their motion.

                                             ###



                                                   Submitted by:


                                                   /s/ Richard H. Nemeth
                                                   Richard H. Nemeth (#0007392)
                                                   Matthew H. Barrett (#0066984)
                                                   Nemeth & Barrett, LLC
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  Service list:

  Craig Shopneck, Chapter 13 Trustee
  (served electronically)

  Richard H. Nemeth
  Attorney for the debtors
  (served electronically)

  Ocwen Loan Servicing, LLC
  P. O. Box 24737
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  Brian and Jessica Finley
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